                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 RED LAKE BAND OF CHIPPEWA
 INDIANS, et al.,
               Plaintiffs,
         v.                                                  Civil Action No. 20-cv-3817 (CKK)
 UNITED STATES ARMY CORPS OF
 ENGINEERS,
               Defendant.


                              SCHEDULING AND PROCEDURES ORDER
                                        (January 6, 2021)

        In order to administer this civil action in a manner fair to the litigants and consistent with
the parties’ interest in completing this litigation in the shortest possible time and at the least pos-
sible cost, it is, this 6th day of January 2021, hereby

        ORDERED that the parties are directed to comply with each of the directives set forth in
this Order. The Court will hold the parties responsible for following these directives; failure to
conform to this Order’s directives may, when appropriate, result in the imposition of sanctions.
See, e.g., Fed. R. Civ. P. 16(f).

       1. COMMUNICATIONS WITH THE COURT. The parties should endeavor to keep
communications with Chambers to a minimum. Ex parte communications on matters other than
scheduling are strictly prohibited; if the parties need to contact Chambers, it must be done jointly
pursuant to a conference call arranged by the parties.

        2. MOTIONS FOR EXTENSIONS OF TIME. The Court will not entertain or honor
stipulations for extensions of time; parties must file a motion in accordance with the following
instructions:

              (a) Motions for extensions of time must be filed at least four (4) business days prior
                  to the first affected deadline.

              (b) Motions for extensions of time are strongly discouraged; they will be granted only
                  in truly exceptional or compelling circumstances and parties should not expect the
                  Court to grant extensions.

              (c) All motions for extensions of time must include the following or they will not be
                  considered:

                 (i)         The specific grounds for the extension;
              (ii)    The number of previous extensions, if any, granted to each party;

              (iii)   A statement of the impact that the requested extension would have on all
                      other previously set deadlines;

              (iv)    A proposed schedule for any other affected deadlines, to be proposed only
                      after consulting with opposing counsel; and

              (v)     A statement of opposing counsel’s position vis-à-vis the motion in accord-
                      ance with Local Civil Rule 7(m).

        3. MOTIONS GENERALLY. Parties must comply with the following instructions when
briefing any motion:

          (a) Memoranda of points and authorities filed in support of or in opposition to any
              motion may not, without leave of the Court, exceed forty-five (45) pages, and reply
              memoranda may not exceed twenty-five (25) pages, with margins set at one inch
              and with all text double-spaced (excepting footnotes) and in twelve-point Times
              New Roman (including footnotes).

          (b) A party may not file a sur-reply without first requesting leave of the Court.

          (a) Where a party fails to file a memorandum of points and authorities in opposition to
              a given motion, the Court may treat the motion as conceded, except with respect
              to motions for summary judgment. See Local Civil Rule 7(b); Winston & Strawn,
              LLP v. McLean, 843 F.3d 503, 505-08 (D.C. Cir. 2016) (citing, e.g., Fed. R. Civ.
              P. 56(e)(3)). Similarly, where a party fails to respond to arguments in opposition
              papers, the Court may treat those specific arguments as conceded. Phrasavang v.
              Deutsche Bank, 656 F. Supp. 2d 196, 201 (D.D.C. 2009).

          (d) Exhibits shall be properly edited to exclude irrelevant material and to direct the
              Court’s attention to the pertinent portions thereof.

          (e) Each submission shall be accompanied by a table of cases and other authorities
              cited therein.

          (f) Every pleading or paper, regardless of whether it is submitted by an attorney or a
              pro se party, shall contain the name, address, telephone number, and, for an attor-
              ney, bar identification number. See Local Civil Rule 5.1(c).

        4. MOTIONS FOR SUMMARY JUDGMENT. Parties must comply with the follow-
ing instructions when briefing motions for summary judgment and the Court may strike papers not
in conformity therewith:

          (a) In accordance with Local Civil Rule 7(h)(2), each motion for summary judgment,
              and opposition thereto, shall include a statement of facts with references to the ad-
              ministrative record. The parties must furnish precise citations to the portions of
              the administrative record on which they rely; the Court need not consider materials

                                          Page 2 of 3
               not specifically identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

           (b) Pursuant to Local Civil Rule 7(n), the parties shall provide the Court with a joint
               appendix containing copies of those portions of the administrative record that are
               cited or otherwise relied upon in any memorandum in support of, or in opposition
               to, a motion for summary judgment.

         5. MOTIONS FOR RECONSIDERATION. Motions for reconsideration of prior rul-
ings are strongly discouraged. Such motions shall be filed only when the requirements of Fed. R.
Civ. P. 54(b), Fed. R. Civ. P. 59(e), and/or Fed. R. Civ. P. 60(b) are met. If such a motion is filed,
it shall not exceed ten (10) pages in length. Moreover, the Court will not entertain: (a) motions
which simply reassert arguments previously raised and rejected by the Court; or (b) arguments
which should have been previously raised, but are being raised for the first time. See Nat’l Trust
v. Dep’t of State, 834 F. Supp. 453, 455 (D.D.C. 1995). Motions not in compliance with these
instructions may be stricken.

        6. COURTESY COPIES. The parties shall deliver one (1) courtesy copy of any submis-
sion that is over twenty-five (25) pages in length or that includes more than one (1) exhibit to the
Court Security Officer at the loading dock located at Third and C Streets (not the Clerk’s Office
or Chambers). Courtesy copies shall be appropriately bound and tabbed for ease of reference.

        7. SETTLEMENT. The parties are expected to evaluate their respective cases for pur-
poses of settlement. The Court encourages the use of alternative dispute resolution—e.g., media-
tion or neutral case evaluation. The use of these methods is available at any time, as is a settlement
conference before a magistrate judge. If counsel are interested in pursuing these options, they may
contact Chambers at any time. If the case settles in whole or in part, counsel shall promptly advise
the Court.

        8. APPEARANCES AT HEARINGS. Principal trial counsel must appear at all hearings
unless excused by the Court in advance.

         It is FURTHER ORDERED that the parties shall adhere to the briefing schedule on Plain-
tiffs’ [2] Motion for Preliminary Injunction set forth in the Court’s January 6, 2021 Minute Order.
The dates identified therein are firm; the Court has endeavored to give the parties the schedule that
they have requested and expects that they will adhere to that schedule.

       SO ORDERED.

                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




                                             Page 3 of 3
